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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 17-723V
                                     Filed: February 8, 2018
                                         UNPUBLISHED


    TINA REYNOLDS,

                        Petitioner,                          Special Processing Unit (SPU);
    v.                                                       Ruling on Entitlement; Concession;
                                                             Table Injury; Influenza (Flu) Vaccine;
    SECRETARY OF HEALTH AND                                  Shoulder Injury Related to Vaccine
    HUMAN SERVICES,                                          Administration (SIRVA)

                       Respondent.


Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for petitioner.
Mallori Browne Openchowski, U.S. Department of Justice, Washington, DC, for
       respondent.

                                    RULING ON ENTITLEMENT1
Dorsey, Chief Special Master:
       On May 31, 2017, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that she suffered severe left shoulder pain immediately after
receiving the influenza vaccine on October 5, 2016. Petition at 1, ¶¶ 5-6. Petitioner
further alleges that she suffered the residual effects of her injury for more than six
months and has not filed a civil action for her injury alleged as a Table SIRVA injury. Id.
at 1, ¶¶ 15, 17. The case was assigned to the Special Processing Unit of the Office of
Special Masters.



1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       On February 8, 2018, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent “believes that petitioner’s alleged injury is consistent with
a shoulder injury related to vaccine administration (“SIRVA”), as defined on the Vaccine
Injury Table.” Id. at 4. Respondent further agrees that “based on the record as it now
stand, petitioner has satisfied all legal prerequisites for compensation under the Act.”
Id.
     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.


                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master
